
PER CURIAM.
The final judgment under review is affirmed upon a holding that the evidence presented below was sufficient to sustain a jury verdict for the plaintiff herein. The jury could have reasonably found on this evidence that the defendant failed to maintain its jai alai fronton business premises, a place of amusement where large crowds congregate, in a reasonably safe condition commensurate with the business conducted, which failure was a proximate cause of the plaintiffs injuries. Helman v. Seaboard Coast Line Railroad, 349 So.2d 1187, 1189 (Fla.1977); Wells v. Palm Beach Kennel Club, 160 Fla. 502, 35 So.2d 720 (1948).
Affirmed.
